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                      Nos. 21-50048(L), 21-50084

                   UNITED STATES COURT OF APPEALS
                        FOR THE NINTH CIRCUIT

                      UNITED STATES OF AMERICA,
                               Appellee,
                                  v.

                           IMAAD SHAH ZUBERI,
                             Defendant-Appellant.


                On Appeal From The United States District Court
                     for the Central District of California
                        The Hon. Virginia A. Phillips


                         STATUTORY ADDENDUM
                             OF APPELLANT


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                                  18 U.S.C. § 3661

§3661. Use of information for sentencing

   No limitation shall be placed on the information concerning the background,
character, and conduct of a person convicted of an offense which a court of the
United States may receive and consider for the purpose of imposing an appropriate
sentence.


                     Classified Information Procedures Act,
                                18 U.S.C.A. App. 3
§ 1. Definitions

   (a) “Classified information”, as used in this Act, means any information or
material that has been determined by the United States Government pursuant to an
Executive order, statute, or regulation, to require protection against unauthorized
disclosure for reasons of national security and any restricted data, as defined in
paragraph r. of section 11 of the Atomic Energy Act of 1954 (42 U.S.C. 2014(y)).
   (b) “National security”, as used in this Act, means the national defense and
foreign relations of the United States.

§ 2. Pretrial conference
    At any time after the filing of the indictment or information, any party may
move for a pretrial conference to consider matters relating to classified information
that may arise in connection with the prosecution. Following such motion, or on its
own motion, the court shall promptly hold a pretrial conference to establish the
timing of requests for discovery, the provision of notice required by section 5 of
this Act, and the initiation of the procedure established by section 6 of this Act. In
addition, at the pretrial conference the court may consider any matters which relate
to classified information or which may promote a fair and expeditious trial. No
admission made by the defendant or by any attorney for the defendant at such a
conference may be used against the defendant unless the admission is in writing
and is signed by the defendant and by the attorney for the defendant.




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§ 3. Protective orders

    Upon motion of the United States, the court shall issue an order to protect
against the disclosure of any classified information disclosed by the United States
to any defendant in any criminal case in a district court of the United States.

§ 4. Discovery of classified information by defendants

    The court, upon a sufficient showing, may authorize the United States to delete
specified items of classified information from documents to be made available to
the defendant through discovery under the Federal Rules of Criminal Procedure, to
substitute a summary of the information for such classified documents, or to substi-
tute a statement admitting relevant facts that the classified information would tend
to prove. The court may permit the United States to make a request for such autho-
rization in the form of a written statement to be inspected by the court alone. If the
court enters an order granting relief following such an ex parte showing, the entire
text of the statement of the United States shall be sealed and preserved in the rec-
ords of the court to be made available to the appellate court in the event of an
appeal.
§ 5. Notice of defendant's intention to disclose classified information

   (a) Notice by defendant
    If a defendant reasonably expects to disclose or to cause the disclosure of
classified information in any manner in connection with any trial or pretrial pro-
ceeding involving the criminal prosecution of such defendant, the defendant shall,
within the time specified by the court or, where no time is specified, within thirty
days prior to trial, notify the attorney for the United States and the court in writing.
Such notice shall include a brief description of the classified information. When-
ever a defendant learns of additional classified information he reasonably expects
to disclose at any such proceeding, he shall notify the attorney for the United States
and the court in writing as soon as possible thereafter and shall include a brief
description of the classified information. No defendant shall disclose any informa-
tion known or believed to be classified in connection with a trial or pretrial pro-
ceeding until notice has been given under this subsection and until the United
States has been afforded a reasonable opportunity to seek a determination pursuant
to the procedure set forth in section 6 of this Act, and until the time for the United
States to appeal such determination under section 7 has expired or any appeal
under section 7 by the United States is decided.


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   (b) Failure to comply

   If the defendant fails to comply with the requirements of subsection (a) the
court may preclude disclosure of any classified information not made the subject of
notification and may prohibit the examination by the defendant of any witness with
respect to any such information.
§ 6. Procedure for cases involving classified information

   (a) Motion for hearing

    Within the time specified by the court for the filing of a motion under this
section, the United States may request the court to conduct a hearing to make all
determinations concerning the use, relevance, or admissibility of classified
information that would otherwise be made during the trial or pretrial proceeding.
Upon such a request, the court shall conduct such a hearing. Any hearing held
pursuant to this subsection (or any portion of such hearing specified in the request
of the Attorney General) shall be held in camera if the Attorney General certifies to
the court in such petition that a public proceeding may result in the disclosure of
classified information. As to each item of classified information, the court shall set
forth in writing the basis for its determination. Where the United States' motion
under this subsection is filed prior to the trial or pretrial proceeding, the court shall
rule prior to the commencement of the relevant proceeding.

   (b) Notice
   (1) Before any hearing is conducted pursuant to a request by the United States
under subsection (a), the United States shall provide the defendant with notice of
the classified information that is at issue. Such notice shall identify the specific
classified information at issue whenever that information previously has been
made available to the defendant by the United States. When the United States has
not previously made the information available to the defendant in connection with
the case, the information may be described by generic category, in such form as the
court may approve, rather than by identification of the specific information of
concern to the United States.

   (2) Whenever the United States requests a hearing under subsection (a), the
court, upon request of the defendant, may order the United States to provide the
defendant, prior to trial, such details as to the portion of the indictment or
information at issue in the hearing as are needed to give the defendant fair notice to
prepare for the hearing.

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   (c) Alternative procedure for disclosure of classified information

   (1) Upon any determination by the court authorizing the disclosure of specific
classified information under the procedures established by this section, the United
States may move that, in lieu of the disclosure of such specific classified
information, the court order--
         (A) the substitution for such classified information of a statement
      admitting relevant facts that the specific classified information would tend to
      prove; or

         (B) the substitution for such classified information of a summary of the
      specific classified information.

    The court shall grant such a motion of the United States if it finds that the
statement or summary will provide the defendant with substantially the same
ability to make his defense as would disclosure of the specific classified
information. The court shall hold a hearing on any motion under this section. Any
such hearing shall be held in camera at the request of the Attorney General.
    (2) The United States may, in connection with a motion under paragraph (1),
submit to the court an affidavit of the Attorney General certifying that disclosure of
classified information would cause identifiable damage to the national security of
the United States and explaining the basis for the classification of such
information. If so requested by the United States, the court shall examine such
affidavit in camera and ex parte.
   (d) Sealing of records of in camera hearings
   If at the close of an in camera hearing under this Act (or any portion of a
hearing under this Act that is held in camera) the court determines that the
classified information at issue may not be disclosed or elicited at the trial or
pretrial proceeding, the record of such in camera hearing shall be sealed and
preserved by the court for use in the event of an appeal. The defendant may seek
reconsideration of the court's determination prior to or during trial.




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   (e) Prohibition on disclosure of classified information by defendant, relief for
defendant when United States opposes disclosure

   (1) Whenever the court denies a motion by the United States that it issue an
order under subsection (c) and the United States files with the court an affidavit of
the Attorney General objecting to disclosure of the classified information at issue,
the court shall order that the defendant not disclose or cause the disclosure of such
information.

   (2) Whenever a defendant is prevented by an order under paragraph (1) from
disclosing or causing the disclosure of classified information, the court shall
dismiss the indictment or information; except that, when the court determines that
the interests of justice would not be served by dismissal of the indictment or
information, the court shall order such other action, in lieu of dismissing the
indictment or information, as the court determines is appropriate. Such action may
include, but need not be limited to—
          (A) dismissing specified counts of the indictment or information;
         (B) finding against the United States on any issue as to which the
      excluded classified information relates; or

          (C) striking or precluding all or part of the testimony of a witness.
   An order under this paragraph shall not take effect until the court has afforded
the United States an opportunity to appeal such order under section 7, and
thereafter to withdraw its objection to the disclosure of the classified information at
issue.

   (f) Reciprocity

    Whenever the court determines pursuant to subsection (a) that classified
information may be disclosed in connection with a trial or pretrial proceeding, the
court shall, unless the interests of fairness do not so require, order the United States
to provide the defendant with the information it expects to use to rebut the
classified information. The court may place the United States under a continuing
duty to disclose such rebuttal information. If the United States fails to comply with
its obligation under this subsection, the court may exclude any evidence not made
the subject of a required disclosure and may prohibit the examination by the United
States of any witness with respect to such information.



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§ 7. Interlocutory appeal

   (a) An interlocutory appeal by the United States taken before or after the
defendant has been placed in jeopardy shall lie to a court of appeals from a
decision or order of a district court in a criminal case authorizing the disclosure of
classified information, imposing sanctions for nondisclosure of classified
information, or refusing a protective order sought by the United States to prevent
the disclosure of classified information.

    (b) An appeal taken pursuant to this section either before or during trial shall be
expedited by the court of appeals. Prior to trial, an appeal shall be taken within
fourteen days after the decision or order appealed from and the trial shall not
commence until the appeal is resolved. If an appeal is taken during trial, the trial
court shall adjourn the trial until the appeal is resolved and the court of appeals (1)
shall hear argument on such appeal within four days of the adjournment of the trial,
excluding intermediate weekends and holidays, (2) may dispense with written
briefs other than the supporting materials previously submitted to the trial court,
(3) shall render its decision within four days of argument on appeal, excluding
intermediate weekends and holidays, and (4) may dispense with the issuance of a
written opinion in rendering its decision. Such appeal and decision shall not affect
the right of the defendant, in a subsequent appeal from a judgment of conviction, to
claim as error reversal by the trial court on remand of a ruling appealed from
during trial.
§ 8. Introduction of classified information
   (a) Classification status

  Writings, recordings, and photographs containing classified information may be
admitted into evidence without change in their classification status.
   (b) Precautions by court

    The court, in order to prevent unnecessary disclosure of classified information
involved in any criminal proceeding, may order admission into evidence of only
part of a writing, recording, or photograph, or may order admission into evidence
of the whole writing, recording, or photograph with excision of some or all of the
classified information contained therein, unless the whole ought in fairness be
considered.



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   (c) Taking of testimony

    During the examination of a witness in any criminal proceeding, the United
States may object to any question or line of inquiry that may require the witness to
disclose classified information not previously found to be admissible. Following
such an objection, the court shall take such suitable action to determine whether
the response is admissible as will safeguard against the compromise of any
classified information. Such action may include requiring the United States to
provide the court with a proffer of the witness' response to the question or line of
inquiry and requiring the defendant to provide the court with a proffer of the nature
of the information he seeks to elicit.




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                             Executive Order 13526
                    Classified National Security Information
                               (December 29, 2009)

    This order prescribes a uniform system for classifying, safeguarding, and
declassifying national security information, including information relating to
defense against transnational terrorism. Our democratic principles require that the
American people be informed of the activities of their Government. Also, our
Nation's progress depends on the free flow of information both within the
Government and to the American people. Nevertheless, throughout our history, the
national defense has required that certain information be maintained in confidence
in order to protect our citizens, our democratic institutions, our homeland security,
and our interactions with foreign nations. Protecting information critical to our
Nation's security and demonstrating our commitment to open Government through
accurate and accountable application of classification standards and routine,
secure, and effective declassification are equally important priorities.
   NOW, THEREFORE, I, BARACK OBAMA, by the authority vested in me as
President by the Constitution and the laws of the United States of America, it is
hereby ordered as follows:
PART 1 ORIGINAL CLASSIFICATION
   Section 1.1.Classification Standards.

    (a) Information may be originally classified under the terms of this order only if
all of the following conditions are met:
   (1) an original classification authority is classifying the information;

   (2) the information is owned by, produced by or for, or is under the control of
the United States Government;

    (3) the information falls within one or more of the categories of information
listed in section 1.4 of this order; and

   (4) the original classification authority determines that the unauthorized
disclosure of the information reasonably could be expected to result in damage to
the national security, which includes defense against transnational terrorism, and
the original classification authority is able to identify or describe the damage.



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   (b) If there is significant doubt about the need to classify information, it shall
not be classified. This provision does not:

   (1) amplify or modify the substantive criteria or procedures for classification; or
   (2) create any substantive or procedural rights subject to judicial review.

   (c) Classified information shall not be declassified automatically as a result of
any unauthorized disclosure of identical or similar information.

    (d) The unauthorized disclosure of foreign government information is presumed
to cause damage to the national security.
   Sec. 1.2. Classification Levels.

   (a) Information may be classified at one of the following three levels:

   (1) “Top Secret” shall be applied to information, the unauthorized disclosure of
which reasonably could be expected to cause exceptionally grave damage to the
national security that the original classification authority is able to identify or
describe.
   (2) “Secret” shall be applied to information, the unauthorized disclosure of
which reasonably could be expected to cause serious damage to the *708 national
security that the original classification authority is able to identify or describe.

   (3) “Confidential” shall be applied to information, the unauthorized disclosure
of which reasonably could be expected to cause damage to the national security
that the original classification authority is able to identify or describe.
   (b) Except as otherwise provided by statute, no other terms shall be used to
identify United States classified information.
   (c) If there is significant doubt about the appropriate level of classification, it
shall be classified at the lower level.
   Sec. 1.3. Classification Authority.

   (a) The authority to classify information originally may be exercised only by:

   (1) the President and the Vice President;
   (2) agency heads and officials designated by the President; and

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   (3) United States Government officials delegated this authority pursuant to
paragraph (c) of this section.

   (b) Officials authorized to classify information at a specified level are also
authorized to classify information at a lower level.

   (c) Delegation of original classification authority.

   (1) Delegations of original classification authority shall be limited to the
minimum required to administer this order. Agency heads are responsible for
ensuring that designated subordinate officials have a demonstrable and continuing
need to exercise this authority.
   (2) “Top Secret” original classification authority may be delegated only by the
President, the Vice President, or an agency head or official designated pursuant to
paragraph (a)(2) of this section.

   (3) “Secret” or “Confidential” original classification authority may be delegated
only by the President, the Vice President, an agency head or official designated
pursuant to paragraph (a)(2) of this section, or the senior agency official designated
under section 5.4(d) of this order, provided that official has been delegated “Top
Secret” original classification authority by the agency head.

   (4) Each delegation of original classification authority shall be in writing and
the authority shall not be redelegated except as provided in this order. Each
delegation shall identify the official by name or position.
   (5) Delegations of original classification authority shall be reported or made
available by name or position to the Director of the Information Security Oversight
Office.

   (d) All original classification authorities must receive training in proper
classification (including the avoidance of over-classification) and declassification
as provided in this order and its implementing directives at least once a calendar
year. Such training must include instruction on the proper safeguarding of
classified information and on the sanctions in section 5.5 of this order that may be
brought against an individual who fails to classify information properly or protect
classified information from unauthorized disclosure. Original classification
authorities who do not receive such mandatory training at least once within a
calendar year shall have their classification authority suspended by the agency
head or the senior agency official designated under section 5.4(d) of this order until
such training has taken place. A waiver may be granted by the agency head, the
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deputy agency head, or the senior agency official if an individual is unable to
receive such training due to unavoidable circumstances. Whenever a waiver is
granted, the individual shall receive such training as soon as practicable.

   (e) Exceptional cases. When an employee, government contractor, licensee,
certificate holder, or grantee of an agency who does not have original classification
authority originates information believed by that person to require classification,
the information shall be protected in a manner consistent with this order and its
implementing directives. The information shall be transmitted promptly as
provided under this order or its implementing directives to the agency that has
appropriate subject matter interest and classification authority with respect to this
information. That agency shall decide within 30 days whether to classify this
information.

   Sec. 1.4. Classification Categories.
   Information shall not be considered for classification unless its unauthorized
disclosure could reasonably be expected to cause identifiable or describable
damage to the national security in accordance with section 1.2 of this order, and it
pertains to one or more of the following:

   (a) military plans, weapons systems, or operations;
   (b) foreign government information;

  (c) intelligence activities (including covert action), intelligence sources or
methods, or cryptology;
   (d) foreign relations or foreign activities of the United States, including
confidential sources;

   (e) scientific, technological, or economic matters relating to the national
security;
   (f) United States Government programs for safeguarding nuclear materials or
facilities;
   (g) vulnerabilities or capabilities of systems, installations, infrastructures,
projects, plans, or protection services relating to the national security; or (h) the
development, production, or use of weapons of mass destruction.



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   Sec. 1.5. Duration of Classification.

   (a) At the time of original classification, the original classification authority
shall establish a specific date or event for declassification based on the duration of
the national security sensitivity of the information. Upon reaching the date or
event, the information shall be automatically declassified. Except for information
that should clearly and demonstrably be expected to reveal the identity of a
confidential human source or a human intelligence source or key design concepts
of weapons of mass destruction, the date or event shall not exceed the time frame
established in paragraph (b) of this section.
    (b) If the original classification authority cannot determine an earlier specific
date or event for declassification, information shall be marked for declassification
10 years from the date of the original decision, unless the original classification
authority otherwise determines that the sensitivity of the information requires that
it be marked for declassification for up to 25 years from the date of the original
decision.
   (c) An original classification authority may extend the duration of classification
up to 25 years from the date of origin of the document, change the level of
classification, or reclassify specific information only when the standards and
procedures for classifying information under this order are followed.
   (d) No information may remain classified indefinitely. Information marked for
an indefinite duration of classification under predecessor orders, for example,
marked as “Originating Agency's Determination Required,” or classified
information that contains incomplete declassification instructions or lacks
declassification instructions shall be declassified in accordance with part 3 of this
order.

   Sec. 1.6. Identification and Markings.

  (a) At the time of original classification, the following shall be indicated in a
manner that is immediately apparent:

   (1) one of the three classification levels defined in section 1.2 of this order;

   (2) the identity, by name and position, or by personal identifier, of the original
classification authority;
   (3) the agency and office of origin, if not otherwise evident;


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   (4) declassification instructions, which shall indicate one of the following:

   ....

   (A) the date or event for declassification, as prescribed in section 1.5(a);
   (B) the date that is 10 years from the date of original classification, as
prescribed in section 1.5(b);

   (C) the date that is up to 25 years from the date of original classification, as
prescribed in section 1.5(b); or

    (D) in the case of information that should clearly and demonstrably be expected
to reveal the identity of a confidential human source or a human intelligence source
or key design concepts of weapons of mass destruction, the marking prescribed in
implementing directives issued pursuant to this order; and
   (5) a concise reason for classification that, at a minimum, cites the applicable
classification categories in section 1.4 of this order.
   (b) Specific information required in paragraph (a) of this section may be
excluded if it would reveal additional classified information.

    (c) With respect to each classified document, the agency originating the
document shall, by marking or other means, indicate which portions are classified,
with the applicable classification level, and which portions are unclassified. In
accordance with standards prescribed in directives issued under this order, the
Director of the Information Security Oversight Office may grant and revoke
temporary waivers of this requirement. The Director shall revoke any waiver upon
a finding of abuse.

   (d) Markings or other indicia implementing the provisions of this order,
including abbreviations and requirements to safeguard classified working papers,
shall conform to the standards prescribed in implementing directives issued
pursuant to this order.
   ....




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   Sec. 1.7. Classification Prohibitions and Limitations.

   (a) In no case shall information be classified, continue to be maintained as
classified, or fail to be declassified in order to:
   (1) conceal violations of law, inefficiency, or administrative error;

   (2) prevent embarrassment to a person, organization, or agency;

   (3) restrain competition; or

    (4) prevent or delay the release of information that does not require protection
in the interest of the national security.
   ....
PART 2 DERIVATIVE CLASSIFICATION

   Sec. 2.1. Use of Derivative Classification.
   (a) Persons who reproduce, extract, or summarize classified information, or
who apply classification markings derived from source material or as directed by a
classification guide, need not possess original classification authority.

   (b) Persons who apply derivative classification markings shall:
   (1) be identified by name and position, or by personal identifier, in a manner
that is immediately apparent for each derivative classification action;

   (2) observe and respect original classification decisions; and
   (3) carry forward to any newly created documents the pertinent classification
markings. For information derivatively classified based on multiple sources, the
derivative classifier shall carry forward:
   (A) the date or event for declassification that corresponds to the longest period
of classification among the sources, or the marking established pursuant to section
1.6(a)(4)(D) of this order; and

   (B) a listing of the source materials.
  (c) Derivative classifiers shall, whenever practicable, use a classified addendum
whenever classified information constitutes a small portion of an otherwise

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unclassified document or prepare a product to allow for dissemination at the lowest
level of classification possible or in unclassified form.

    (d) Persons who apply derivative classification markings shall receive training
in the proper application of the derivative classification principles of the order,
with an emphasis on avoiding over-classification, at least once every 2 years.
Derivative classifiers who do not receive such training at least once every 2 years
shall have their authority to apply derivative classification markings suspended
until they have received such training. A waiver may be granted by the agency
head, the deputy agency head, or the senior agency official if an individual is
unable to receive such training due to unavoidable circumstances. Whenever a
waiver is granted, the individual shall receive such training as soon as practicable.

   ....
PART 4 SAFEGUARDING
   Sec. 4.1. General Restrictions on Access.
   (a) A person may have access to classified information provided that:

   (1) a favorable determination of eligibility for access has been made by an
agency head or the agency head's designee;

   (2) the person has signed an approved nondisclosure agreement; and
   (3) the person has a need-to-know the information.
    (b) Every person who has met the standards for access to classified information
in paragraph (a) of this section shall receive contemporaneous training on the
proper safeguarding of classified information and on the criminal, civil, and
administrative sanctions that may be imposed on an individual who fails to protect
classified information from unauthorized disclosure.
   (c) An official or employee leaving agency service may not remove classified
information from the agency's control or direct that information be declassified in
order to remove it from agency control.

   (d) Classified information may not be removed from official premises without
proper authorization.



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   (e) Persons authorized to disseminate classified information outside the
executive branch shall ensure the protection of the information in a manner
equivalent to that provided within the executive branch.

   ....

PART 5 IMPLEMENTATION AND REVIEW

   ....

   Sec. 5.2. Information Security Oversight Office.

   (a) There is established within the National Archives an Information Security
Oversight Office. The Archivist shall appoint the Director of the Information
Security Oversight Office, subject to the approval of the President.

   (b) Under the direction of the Archivist, acting in consultation with the National
Security Advisor, the Director of the Information Security Oversight Office shall:
   (1) develop directives for the implementation of this order;

  (2) oversee agency actions to ensure compliance with this order and its
implementing directives;
   ....

PART 6 GENERAL PROVISIONS

   Sec. 6.1. Definitions.
   For purposes of this order:

   ....

   (i) “Classified national security information” or “classified information” means
information that has been determined pursuant to this order or any predecessor
order to require protection against unauthorized disclosure and is marked to
indicate its classified status when in documentary form.
   ....




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   (l) “Damage to the national security” means harm to the national defense or
foreign relations of the United States from the unauthorized disclosure of
information, taking into consideration such aspects of the information as the
sensitivity, value, utility, and provenance of that information.

   ....
   (o) “Derivative classification” means the incorporating, paraphrasing, restating,
or generating in new form information that is already classified, and marking the
newly developed material consistent with the classification markings that apply to
the source information. Derivative classification includes the classification of
information based on classification guidance. The duplication or reproduction of
existing classified information is not derivative classification.

  (p) “Document” means any recorded information, regardless of the nature of the
medium or the method or circumstances of recording.
   ....

   (t) “Information” means any knowledge that can be communicated or
documentary material, regardless of its physical form or characteristics, that is
owned by, is produced by or for, or is under the control of the United States
Government.
   ....
   (x) “Intelligence” includes foreign intelligence and counterintelligence as
defined by Executive Order 12333 of December 4, 1981, as amended, or by a
successor order.
   (y) “Intelligence activities” means all activities that elements of the Intelligence
Community are authorized to conduct pursuant to law or Executive Order 12333,
as amended, or a successor order.

   (z) “Intelligence Community” means an element or agency of the U.S.
Government identified in or designated pursuant to section 3(4) of the National
Security Act of 1947, as amended, or section 3.5(h) of Executive Order 12333, as
amended.

   ....

  (cc) “National security” means the national defense or foreign relations of the
United States.
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   (dd) “Need-to-know” means a determination within the executive branch in
accordance with directives issued pursuant to this order that a prospective recipient
requires access to specific classified information in order to perform or assist in a
lawful and authorized governmental function.

   ....
   (ff) “Original classification” means an initial determination that information
requires, in the interest of the national security, protection against unauthorized
disclosure.

   (gg) “Original classification authority” means an individual authorized in
writing, either by the President, the Vice President, or by agency heads or other
officials designated by the President, to classify information in the first instance.
   ....

   (mm) “Senior agency official” means the official designated by the agency head
under section 5.4(d) of this order to direct and administer the agency's program
under which information is classified, safeguarded, and declassified.
   (nn) “Source document” means an existing document that contains classified
information that is incorporated, paraphrased, restated, or generated in new form
into a new document.
   ....
   BARACK OBAMA
   THE WHITE HOUSE, December 29, 2010.




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                                32 C.F.R. Part 2001
                     Classified National Security Information

§2001.10 Classification standards.

       Identifying or describing damage to the national security. Section 1.1(a) of
the Order specifies the conditions that must be met when making classification
decisions. Section 1.4 specifies that information shall not be considered for
classification unless its unauthorized disclosure could reasonably be expected to
cause identifiable or describable damage to the national security. There is no
requirement, at the time of the decision, for the original classification authority to
prepare a written description of such damage. However, the original classification
authority must be able to support the decision in writing, including identifying or
describing the damage, should the classification decision become the subject of a
challenge or access demand pursuant to the Order or law.
§2001.11 Original classification authority.
       (a) General. Agencies shall establish a training program for original
classifiers in accordance with subpart G of this part.

      ....

       (c) Reporting delegations of original classification authority. All delegations
of original classification authority shall be reported to the Director of ISOO. This
can be accomplished by an initial submission followed by updates on a frequency
determined by the senior agency official, but at least annually.
      ....

§ 2001.21 Original classification.

       (a) Primary markings. At the time of original classification, the following
shall be indicated in a manner that is immediately apparent:

       (1) Classification authority. The name and position, or personal identifier, of
the original classification authority shall appear on the “Classified By” line. An
example might appear as:

      Classified By: David Smith, Chief, Division 5 or

      Classified By: ID#IMNO1

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       (2) Agency and office of origin. If not otherwise evident, the agency and
office of origin shall be identified and follow the name on the “Classified By” line.
An example might appear as:

          Classified By: David Smith, Chief, Division 5, Department of Good Works,
          Office of Administration.
   (3) Reason for classification. The original classification authority shall identify
the reason(s) for the decision to classify. The original classification authority shall
include on the “Reason” line the number 1.4 plus the letter(s) that corresponds to
that classification category in section 1.4 of the Order.
   (i) These categories, as they appear in the Order, are as follows:

   (A) Military plans, weapons systems, or operations;
   (B) Foreign government information;
  (C) Intelligence activities (including covert action), intelligence sources or
methods, or cryptology;
   (D) Foreign relations or foreign activities of the United States, including
confidential sources;
   (E) Scientific, technological, or economic matters relating to the national
security;
   (F) United States Government programs for safeguarding nuclear materials or
facilities;

   (G) Vulnerabilities or capabilities of systems, installations, infrastructures,
projects, plans, or protection services relating to the national security; or

   (H) The development, production, or use of weapons of mass destruction.

   (ii) An example might appear as:

          Classified By: David Smith, Chief, Division 5, Department of Good Works,
          Office of Administration Reason: 1.4(g)

   (4) Declassification instructions.

   ....

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   (b) Overall marking. The highest level of classification is determined by the
highest level of any one portion within the document and shall appear in a way that
will distinguish it clearly from the informational text.

   (1) Conspicuously place the overall classification at the top and bottom of the
outside of the front cover (if any), on the title page (if any), on the first page, and
on the outside of the back cover (if any).

   (2) For documents containing information classified at more than one level, the
overall marking shall be the highest level. For example, if a document contains
some information marked “Secret” and other information marked “Confidential,”
the overall marking would be “Secret.”

   (3) Each interior page of a classified document shall be marked at the top and
bottom either with the highest level of classification of information contained on
that page, including the designation “Unclassified” when it is applicable, or with
the highest overall classification of the document.
   (c) Portion marking. Each portion of a document, ordinarily a paragraph, but
including subjects, titles, graphics, tables, charts, bullet statements, sub-paragraphs,
classified signature blocks, bullets and other portions within slide presentations,
and the like, shall be marked to indicate which portions are classified and which
portions are unclassified by placing a parenthetical symbol immediately preceding
the portion to which it applies.
   (1) To indicate the appropriate classification level, the symbols “(TS)” for Top
Secret, “(S)” for Secret, and “(C)” for Confidential will be used.
   (2) Portions which do not meet the standards of the Order for classification shall
be marked with “(U)” for Unclassified.

    (3) In cases where portions are segmented such as paragraphs, sub-paragraphs,
bullets, and sub-bullets and the classification level is the same throughout, it is
sufficient to put only one portion marking at the beginning of the main paragraph
or main bullet. If there are different levels of classification among these segments,
then all segments shall be portion marked separately in order to avoid over-
classification of any one segment. If the information contained in a sub-paragraph
or sub-bullet is a higher level of classification than its parent paragraph or parent
bullet, this does not make the parent paragraph or parent bullet classified at that
same level. Each portion shall reflect the classification level of that individual
portion and not any other portions. At the same time, any portion, no matter what
its status, is still capable of determining the overall classification of the document.
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   (d) Dissemination control and handling markings. Many agencies require
additional control and handling markings that supplement the overall classification
markings. See § 2001.24(j) for specific guidance.

   (e) Date of origin of document. The date of origin of the document shall be
indicated in a manner that is immediately apparent.
§ 2001.22 Derivative classification.

   (a) General. Information classified derivatively on the basis of source
documents or classification guides shall bear all markings prescribed in § 2001.20
and § 2001.21, except as provided in this section. Information for these markings
shall be carried forward from the source document or taken from instructions in the
appropriate classification guide.
   (b) Identity of persons who apply derivative classification markings. Derivative
classifiers shall be identified by name and position, or by personal identifier, in a
manner that is immediately apparent on each derivatively classified document. If
not otherwise evident, the agency and office of origin shall be identified and follow
the name on the “Classified By” line. An example might appear as:
   Classified By: Peggy Jones, Lead Analyst, Research and Analysis Division or

   Classified By: ID # IMN01
   (c) Source of derivative classification.
   (1) The derivative classifier shall concisely identify the source document or the
classification guide on the “Derived From” line, including the agency and, where
available, the office of origin, and the date of the source or guide. An example
might appear as:

      Derived From: Memo, “Funding Problems,” October 20, 2008, Office of
      Administration, Department of Good Works or
      Derived From: CG No. 1, Department of Good Works, dated October 20,
      2008
   (i) When a document is classified derivatively on the basis of more than one
source document or classification guide, the “Derived From” line shall appear as:

         Derived From: Multiple Sources

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    (ii) The derivative classifier shall include a listing of the source materials on, or
attached to, each derivatively classified document.

    (2) A document derivatively classified on the basis of a source document that is
itself marked “Multiple Sources” shall cite the source document on its “Derived
From” line rather than the term “Multiple Sources.” An example might appear as:
          Derived From: Report entitled, “New Weapons,” dated October 20, 2009,
          Department of Good Works, Office of Administration

    (d) Reason for classification. The reason for the original classification decision,
as reflected in the source document(s) or classification guide, is not transferred in a
derivative classification action.

   (e) Declassification instructions.
   ....
    (f) Overall marking. The derivative classifier shall conspicuously mark the
classified document with the highest level of classification of information included
in the document, as provided in § 2001.21(b).

    (g) Portion marking. Each portion of a derivatively classified document shall be
marked immediately preceding the portion to which it applies, in accordance with
its source, and as provided in § 2001.21(c).

   (h) Dissemination control and handling markings. Many agencies require
additional control and handling markings that supplement the overall classification
markings. See § 2001.24(j) for specific guidance.

   (i) Date of origin of document. The date of origin of the document shall be
indicated in a manner that is immediately apparent.




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§2001.40 General.

   ....

   (d) Need-to-know determinations.
   (1) Agency heads, through their designees, shall identify 1) Agency heads,
through their designees, shall identify organizational missions and personnel
requiring access to classified information to perform or assist in authorized
governmental functions. These mission and personnel requirements are determined
by the functions of an agency or the roles and responsibilities of personnel in the
course of their official duties. Personnel determinations shall be consistent with
section 4.1(a) of the Order.

   (2) In instances where the provisions of section 4.1(a) of the Order are met, but
there is a countervailing need to restrict the information, disagreements that cannot
be resolved shall be referred by agency heads or designees to either the Director of
ISOO or, with respect to the Intelligence Community, the Director of National
Intelligence, as appropriate. Disagreements concerning information protected
under section 4.3 of the Order shall instead be referred to the appropriate official
named in section 4.3 of the Order.




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ISOO HANDBOOK 2018-01: This guidance document does not have the force and effect of law and is not meant to bind the public, except as authorized
by law or regulation Case:
                      or as incorporated
                                21-50048,into a contract. Accordingly,
                                                 04/28/2023,        ID:with12705486,
                                                                            regard to the public, this document
                                                                                            DktEntry:           only Page
                                                                                                            71-3,    provides 28
                                                                                                                              clarity
                                                                                                                                   ofregarding
                                                                                                                                      51 existing
requirements under the law or agency policies. This guidance document is binding on agency actions as authorized under applicable statute, executive
order, regulation, or similar authority.



                           Marking
                          Classified
                       National Security
                         Information
                                AS REQUIRED BY
       EXECUTIVE ORDER 13526, CLASSIFIED NATIONAL SECURITY INFORMATION
                            DECEMBER 29, 2009, AND
                32 CFR PART 2001, ISOO IMPLEMENTING DIRECTIVE
                                 JUNE 25, 2010




                                       DECEMBER 2010
                                    Revision 4, January 2018

                      This document is UNCLASSIFIED. Any classification
                  I           markings are for training use only.
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Executive Order (E.O.) 13526 and its implementing directive, 32 CFR Part 2001, prescribe a uniform security
classification system. This system requires that standard markings be applied to classified information.
Except in extraordinary circumstances, or as approved by the Director of the Information Security Oversight
Office (ISOO), the marking of classified information shall not deviate from the prescribed formats. Markings
shall be uniformly and conspicuously applied to leave no doubt about the classified status of the
information, the level of protection required, and the duration of classification. Since a booklet of this size
cannot illustrate every conceivable situation, please refer to the implementing directive, other ISOO
issuances, and any instructions issued by your organization for further clarification. Consult your security
manager if you have any questions.

This booklet is unclassified, and as it is in the public domain, it may be reproduced without permission. All
classification markings used are for illustration purposes only. All previous booklets and the guidance
contained in them are rescinded.

Reminders

 Original classification is the initial determination that information required, in the interest of the national
  security, protection against unauthorized disclosure.

        • Only individuals specifically authorized in writing by the President, the Agency Head, or the
          Senior Agency Official may classify documents originally. OCAs must receive training on their
          responsibilities annually.

 Derivative classification is the incorporating, paraphrasing, restating, or generating in new form
  information that is already classified, and marking the newly developed material consistent with the
  classification markings that apply to the source document.

        • Only individuals with the appropriate security clearance, who are required by their work to
          restate classified source information, may derivatively classify information. Derivative classifiers
          are required to receive training at least once every two years.

 Markings other than “Top Secret,” “Secret,” and “Confidential” shall not be used to identify classified
  national security information.

 Information shall not be classified for any reason unrelated to the protection of the national security.

 Classifiers and authorized holders are responsible for ensuring that information is appropriately classified
  and properly marked.

 Individuals who believe that information in their possession is inappropriately classified, or
  inappropriately unclassified, are expected to bring their concerns to the attention of responsible officials.




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         Section 1:
Required Elements of Marking




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Required markings under E.O. 13526 include:

 Portion markings;

 Overall classification markings; and

 Classification authority block consisting of:

       • A “Classified By” line to include the identity, by name and position, or by personal
        identifier of the classifier, and if not otherwise evident, the agency and office of
        origin.

       • The “Reason” for classification as provided in section 1.4 of the Order for originally classified
         documents, or “Derived From” for derivatively classified documents.

       • A “Declassify On” line which shall indicate one of the following durations of classification:

                A date or event for declassification that corresponds to the lapse of the
                 information’s national security sensitivity, which is equal to or less than 10 years
                 from the date of the original decision.

                A date not to exceed 25 years from the date of the document creation.

                If the classified information should clearly and demonstrably be expected to reveal
                 the identity of a confidential human source or a human intelligence source, no date
                 or event shall be annotated and the marking “50X1-HUM” shall be used.

                If the classified information should clearly and demonstrably be expected to reveal
                 key design concepts of weapons of mass destruction, no date or event shall be
                 annotated and the marking “50X2-WMD” shall be used.

                25X1 through 25X9, with a date or event (as approved by ISCAP)




   Note: Refer to ISOO Notice 2018-01 if using an event for a declassification instruction.




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   Portion Marking
                            I
What constitutes a portion?                               Why do we portion mark?
(This list is not all inclusive)
                                                          Portion markings identify the information
      Title                                               that must be protected and the level of
      Subject                                             protection that is required.
      Paragraphs/sub-paragraphs
                                                          Documents that are not portion marked
      Bullet points/sub-bullet points
      Graphics (maps, photos, pictures, etc.)
      Tables
      Charts
                                                    *     shall not be used as source documents
                                                          for derivatively classified documents.




      Portion marking is a requirement on all classified documents; originally classified
      and derivatively classified to include e-mails. This also applies to all unclassified
              documents (including e-mails) that reside on a classified system.




             NOTE: Portion marking waivers may be requested by an agency head or senior
               agency official. Such requests shall be submitted to the Director of ISOO.
                           See 32 CFR Part 2001.24(k) for more information.




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  Portion Marking
                            I
Examples


                            TITLE:

                                (U) Required Elements of Marking


Subject: (U) Required Elements of Marking
1. (S) The implementing directive, 32 CFR 2001.21, defines a portion as “ordinarily a
paragraph, but including subjects, titles, graphics, tables, charts, bullet statements, sub-
paragraphs, classified signature blocks, bullets, and other portions within slide
presentations.
  a. (U) All portions must be appropriately marked to indicate which portions are classified
and which portions are not classified.


• (U) Main bullet point 1
     • (S) Sub-bullet 1
                                     SECRET
     • (U) Sub-bullet 2
     • (TS) Sub-bullet 3
     • (C) Sub-bullet 4                                                     Europe
                                                                                               Asia
     • (S) Sub-bullet 5

                                           Mexico &             Caribbean
                                                                                     Africa
                                        Central America

                                                           South
                                                            America

                                                                                                       Australia




                                                                                              SECRET    New Zealand




                                     The map itself is considered a portion and is marked top and bottom
                                     with the classification of the map as a whole. For graphics, it is
                                     recommended you spell out the classification so that it is clearly visible.


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   Portion Marking
                             I
Examples


               (U) Examples of
               PowerPoint Slide
                  Markings

                 May 27, 2010




                                     (U) Example of Slide Markings

                         • (S) This bullet contains “Secret” information.
                         Therefore, this portion will be marked with the
                         designation “S” in parentheses preceding the portion.
                         • (U) This bullet contains “Unclassified” information.
                         Therefore this portion will be marked with the
                         designation “U” in parentheses preceding the portion.




                                                  (U) This slide
                                                  demonstrates how to
                                                  properly portion mark
                                                                                  (U) Declassification
                                                  a slide that contains a
                                                  chart, graph, picture,

     In this example, the portion marking
                                                  etc. The title of the
                                                  graph is portion
                                                                                                   •1st Qtr
     applied to the graphic is spelled out        marked and the graph                             •2nd Qtr
                                                  as a separate object is
     (SECRET) instead of being abbreviated.       portion marked.
                                                                                                   • 3rd Qtr
     This is a recommended way to apply                                                            •4th Qtr
                                                                                      SECRET
     markings that provide distinction            (U) The text is also
     between the classified status of a           portion marked.
     graphic, the title of a graphic, and the
     overall classification of a slide.




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              Portion Marking
                                                   I
                                                                            U) ISOO'S MISSION
                                                                            S) We support the President by ensuring that the Government protects and provides
                                                                           proper access to information to advance the national and public interest. We lead efforts
                                                                           to standardize and assess the management of classified and controlled unclassified
                                                                           information through oversight, policy development, guidance, education, and reporting.

                                                                           (U) FUNCTIONS

                     (U)
                                                                           • (S) Develop implementing directives and instructions.
                                                                           • (S) Review and approve agency implementing regulations.
                                                                           • (S) Review requests for original classification authority from agencies.
                                                                           • (U) Maintain liaison relationships with agency counterparts and conduct on-site and
                                                                           document reviews to monitor agency compliance.
                                                                           • (S) Develop and disseminate security education materials for Government and
                                                                           industry; monitor security education and training programs.
                                                                           • (S) Receive and take action on complaints and suggestions with respect to the
                                                                           administration of the program established under the Order.
                                                                           • (U) Collect and analyze relevant statistical data and, along with other information,
                                                                           report them annually to the President.

                                                                           (U)GOALS
                                                                           • (U) Promote programs for protection of classified and controlled unclassified
                                                                           information.
                                                                           • (U) Reduce classification and control activity to the minimum necessary.
                                                                           • (S) Ensure that the systems for declassification and decontrol operate as required.
           Portion marking of the title                                    • (S) Provide expert advice and guidance to constituents.
                                                                           • (U) Collect, analyze, and report valid information about the status of agency programs.

                                                  Portion marking of the
                                                  headings, paragraphs,
                                                  and bullet points

                                                                                          (U) Plasmodiu
                             (U) Original Classification                           {SJ Mosquito bite
                                                                                   (5) Sporozoit cs enter blood
                                     Authorities                               •   {U) Travel to liver
                                      FY 2015                                       -   (IJ)I IPpa tocytes
                                                                                    -   (S) Asexua l g rowth
                                               1,336                                      • (I J) ¥ .hirnn-:r. > m P.mrdt ~:'\
                     1,500
(U) Number of OCAs




                                                                                    -   (~) M PrmnitP.s to hlonrl
                                                                                   {U) M e l UlUJ lu uluud
                                  850                                               -   (IJ) nfffl't ~ n,::
                     1,000                                                                • (U) l'l.elease trophc-zoi-Ce!i,
                                                                                              merozoites, schizoms
                                                                                    -   {(.) MP.rnrn itP. t ranstnrl'Tl-'tion
                                                                                          •   (L) t:iamcto~1cs
                      500                                                          {SJ Passed to new mosq uito
                                                               13
                        0
                             Top Secret       Secret      Confidential         Portion marking of                                Portion marking of
                                       (U) Classification Level                  the title of the                                    the picture
                                 (S) Total Number of OCAs: 2,199                     picture


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  Overall Classification Marking
                                                   I
 The overall classification of a document is determined by the highest level of classification of any one portion
  within the document.
 Conspicuously place the overall classification at the top and bottom of the page.
 If the document contains more than one page, place the overall marking at the top and bottom of the
  outside of the front cover, on the title page, on the first page, and on the outside of the back cover (if any).
 Mark other internal pages either with the overall classification or with a marking indicating the highest
  classification level of information contained on that page.

Examples of overall classification markings
                                                   SECRET

Subject: (U) Required Elements of Marking
1. (S) The implementing directive, 32 CFR 2001.21, defines a portion as “ordinarily a
paragraph, but including subjects, titles, graphics, tables, charts, bullet statements, sub-
paragraphs, classified signature blocks, bullets, and other portions within slide
presentations.
  a. (U) All portions must be appropriately marked to indicate which portions are classified
and which portions are not classified.

                                                   SECRET

                    TOP SECRET                                                   SECRET
                                                       (U) This slide
                                                       demonstrates how to           (U) Declassification
          • (U) Main bullet point 1                    properly portion mark
               • (S) Sub-bullet 1                      a slide that contains a                        ■ 1st Qtr
                                                       chart, graph, picture,
               • (U) Sub-bullet 2                      etc. The title of the                          ■ 2nd Qtr
               • (TS) Sub-bullet 3                     graph is portion
                                                                                                      ■ 3rd Qtr
                                                       marked and the graph
               • (C) Sub-bullet 4                      as a separate object is                        ■ 4th Qtr
               • (S) Sub-bullet 5                      portion marked.
                                                                                           SECRET
                                                       (U) The text is also
                    TOP SECRET                         portion marked.           SECRET


        NOTE: Some agencies require additional dissemination and control markings that accompany the


     I                                overall classification markings.
                       Contact your security manager for agency-specific guidelines.

                                                       -7-                                          034
                                                                                                                  I
           Section      1: 04/28/2023,
            Case: 21-50048, Required          Elements
                                       ID: 12705486,            of Marking
                                                     DktEntry: 71-3, Page 38 of 51

 Overall Classification Marking
                                             I                                                             SECRET
Examples of overall classification markings                               (U) ISOO'S MISSION
                                                                          (S) We support the President by ensuring that the Government protects and provides

                        SECRET
                                                                          proper access to information to advance the national and public interest. We lead efforts
                                                                          to standardize and assess the management of classified and controlled unclassified
                                                                          information through oversight, policy development, guidance, education, and reporting.

                                                                          (U) FUNCTIONS
                                                                          • (S) Develop implementing directives and instructions.
                                                                          • (S) Review and approve agency implementing regulations.
                                                                          • (S) Review requests for original classification authority from agencies.
                                                                          • (U) Maintain liaison relationships with agency counterparts and conduct on-site and
                                                                          document reviews to monitor agency compliance.


          (U)
                                                                          • (S) Develop and disseminate security education materials for Government and
                                                                          industry; monitor security education and training programs.
                                                                          • (S) Receive and talce action on complaints and suggestions with respect to the
                                                                          administration of the program established under the Order.
                                                                          • (U) Collect and analyze relevant statistical data and, along with other information,
                                                                          report them annually to the President

                                                                          (U)GOALS
                                                                          • (U) Promote programs for protection of classified and controlled unclassified
                                                                          information.
                                                                          • (U) Reduce classification and control activity to the minimum necessary.
                                                                          • (S) Ensure that the systems for declassification and decontrol operate as required.
                                                                          • (S) Provide expert advice and guidance to constituents.

                        SECRET                                            • (U) Collect, analyze, and report valid information about the status of agency programs.

                                                                                                           SECRET

                  SECRET
                                                                                                      SECRET
                                                                         (U) Original Classification Authorities
              (U) Examples of                                                           FY 2015
              PowerPoint Slide                                                                                    1,336
                 Markings                                               1,500
                                                   (U) Number of OCAs




                                                                                             850
                                                                        1,000
                May 27, 2010
                                                                         500
                                                                                                                                           13
                                                                            0
                  SECRET                                                             Top Secret                Secret            Confidential
                                                                                                  (U) Classification Level
                                                                    SECRET                  (S) Total Number of OCAs: 2,199


     NOTE: Some agencies require additional dissemination and control markings that accompany the


   I                               overall classification markings.
                    Contact your security manager for agency-specific guidelines.

                                                 -8-                                                                                 035
                                                                                                                                                        I
              Section
               Case: 21-50048, Required
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  Classification Authority Block
                                                       I
This is the classification authority block for an originally classified document.
OCA name and position,
or personal identifier       -
The category of classified information
                                                           Classified By: John E. Doe, Chief, Division 5
                                                           Reason: 1.4(a)
annotated in Section 1.4 of E.O. 13526
                                                           Declassify On: 20150627
Declassification instruction,
not to exceed 25 years from                                  NOTE: If not otherwise evident, the agency and office of origin
                                                             shall be identified and placed immediately following the name and
the date of the document
                                                             position, or personal identifier provided in the “Classified By” line.


      A date or event that is less than 10 years from the               Classified By: John E. Doe, Chief Division 5
      date of original classification (date of document is               Reason: 1.4(a)
      July 1, 2010)                                                      Declassify On: 20180701


     A date that is 10 years from the date of the                       Classified By: John E. Doe, Chief Division 5
      original classification decision (date of document                 Reason: 1.4(a)
      is July 1, 2010)                                                   Declassify On: 20200701


     A date not to exceed 25 years from the date of the                Classified By: John E. Doe, Chief Division 5
      original classification decision (date of document                Reason: 1.4(a)
      is July 1, 2010).                                                 Declassify On: 20350701

  Exceptions to this sequence:

      If the information should clearly and
      demonstrably be expected to reveal the identity                   Classified By: John E. Doe, Chief Division 5
                                                                        Reason: 1.4(c)
      of a confidential human source or a human                         Declassify On: 50X1-HUM
      intelligence source, the duration of
      classification shall be up to 75 years and shall
      be designated as 50X1-HUM.
      If the information should clearly and
      demonstrably be expected to reveal key design                     Classified By: John E. Doe, Chief Division 5
      concepts of weapons of mass destruction, the                      Reason: 1.4(h)
                                                                        Declassify On: 50X2-WMD
      duration shall be up to 75 years and shall be
      designated as 50X2-WMD.
   NOTE: When 50X1-HUM and 50X2-WMD are used, a specific date or event for declassification of the information will not be
     used. Approval by the ISCAP is not required prior to agency use of 50X1-HUM or 50X2-WMD; however, agencies should
            provide details in their classification guides concerning the use of these markings to enable effective use.


                                                           -9-                                                 036
             Section
              Case: 21-50048, Required
                          1: 04/28/2023,        Elements
                                         ID: 12705486,            of Marking
                                                       DktEntry: 71-3, Page 40 of 51

  Classification Authority Block
                                                    I
This is the classification authority block for a derivatively classified document.
Name and position, or personal identifier of
the individual who created the document.
Do not use group name, office name, or                  Classified By: Joe Carver, Director
team name.                                              Derived From: Department of Good Works Memorandum
The source of the information                             dated June 27, 2010, Subj: (U) Examples
                                                        Declassify On: 20150627
Declassification instruction
                               -                        NOTE: If not otherwise evident, the agency and office of origin
                                                        shall be identified and placed immediately following the name and
                                                        position, or personal identifier provided in the “Classified By” line.


Derivative classification is the act of incorporating, paraphrasing, restating, or generating in new form
information that is already classified, and marking the newly developed material consistent with the
markings of the source information. The source information ordinarily consists of a classified document or
documents, or a classification guide issued by an original classification authority.

When using a classified source document as the basis for derivative classification, the markings on the
source document determine the markings to be applied to the derivative document. When using a
classification guide as the basis for derivative classification, the instructions provided by the guide are to be
applied to the derivative document.


For documents derived from a single source:

Classified By: Name and position, or personal identifier of the individual who created the document. Do
not use group name, office name, or team name.
Derived From: Precisely identify the source document or the classification guide on the ‘‘Derived From’’
line.
Declassify On: The derivative classifier shall carry forward the instructions on the ‘‘Declassify On’’ line from
the source document to the derivative document, or the duration instruction from the classification or
declassification guide.


                   NOTE: The date for declassification may be displayed either by spelling out
                    the month (June 27, 2015), or numerically (20150627). When displayed
                         numerically, the following format must be used: YYYYMMDD.



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              Section
               Case: 21-50048, Required
                           1: 04/28/2023,        Elements
                                          ID: 12705486,            of Marking
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   Classification Authority Block
                                                    I
For Documents Derived From Multiple Sources
Classified By: Name and position, or personal identifier of the individual who created the document. Do
not use group name, office name, or team name.
Derived From: Multiple Sources
The derivative classifier shall include a listing of the source materials on, or attached to, each derivatively
classified document. There is no required placement of the source list within the document, only that it be
included in, or attached to, the document.

                   (U) Sources:

                   1. (U) Dept of Good Works Memorandum dated May 30, 2015, Subj: Examples
                   2. (U) Dept of Good Works Memorandum dated June 27, 2017, Subj: Examples
                   3. (U) Radar SCG dated February 2, 2006, Section 2, item 7.




Declassify On: The declassification date for the newly created document will be the most restrictive date
(the date that keeps the document classified for the longest period of time) from the multiple sources:

   Source Document 1 - Declassify On: 20400530
   Source Document 2 - Declassify On: 20420627
   Source Document 3 - Declassify On: 20260202




                           Classified By: Peggy Ushman, Senior Program Analyst, ISOO
                           Derived From: Multiple Sources
                           Declassify On: 20420627


                           (U) Sources:
                           1. (U) Dept of Good Works Memorandum dated May 30, 2015, Subj: Examples
                           2. (U) Dept of Good Works Memorandum dated June 27, 2017, Subj: Examples
                           3. (U) Radar SCG dated February 2, 2006, Section 2, item 7.




                                                        -11-                                      038
                 Section
                  Case: 21-50048, Required
                              1: 04/28/2023,        Elements
                                             ID: 12705486,            of Marking
                                                           DktEntry: 71-3, Page 42 of 51

 Classification Authority Block
                                                           I
A document derivatively classified on the basis of a source document that is itself marked “Multiple
Sources” shall cite the source document on its “Derived From” line rather than the term “Multiple
Sources.”




Source Document
                          SECRET                                      Derivative Document



'*              Department of Good Works
                Washington, D.C. 20006
                                                                                          SECRET



                                                                      *
                                                                                    Department of Information
 June 27, 2014                                                                      Washington, D.C. 20008

 MEMORANDUM FOR THE DIRECTOR                                            July 15, 2016

 From: John E. Doe, Chief Division 5                                    MEMORANDUM FOR AGENCY OFFICIALS

 Subject: (U) Examples                                                  From: Joe Carver, Director

 1. (U) Paragraph 1 contains “Unclassified” information.                Subject: (U) Examples
 Therefore, this portion will be marked with the
 designation “U” in parentheses preceding the portion.                  1. (S) Paragraph 1 contains information from Paragraph 2
                                                                        in the source document and is therefore marked (S).
 2. (S) Paragraph 2 contains “Secret” information.
                                                           '
                                                               \
 Therefore, this portion will be marked with the                        2. (U) Paragraph 2 contains “Unclassified” information.
 designation “S” in parentheses preceding the portion.                  Therefore, this portion will be marked with the
                                                                        designation “U” in parentheses preceding the portion.
    Classified By: John E. Doe, Chief Division 5
    Derived From: Multiple Sources                                    Classified By: Joe Carver, Director
I   Declassify On: 20200627             I                             Derived From: Department of Good Works Memorandum
                          SECRET                           -- -        dated June 27, 2010, Subj: Examples
                                                                      Declassify On: 20200627
                                                                                          SECRET




                                                               -12-                                          039
    Case: 21-50048, 04/28/2023, ID: 12705486, DktEntry: 71-3, Page 43 of 51




           Section 2:
Derivative Classification Marking




                                    -13-                                 040
             Section     2: Derivative
               Case: 21-50048,                    Classlflcatlon
                               04/28/2023, ID: 12705486,                   Marking
                                                         DktEntry: 71-3, Page 44 of 51


      Examples                                                            The first paragraph from the source document is
                                                                           carried over to the derivative document. The
                                                                           portion marking for that paragraph is carried
                                                                           over.
                                                                          All remaining portions in the derivative document
                                                                           are appropriately marked.
                                                                          The “Classified By” line on the derivative
                                                                           document identifies the creator of this
                                                                           document. Do not use group name, office name,
                                                                           or team name.
                                            Source document               The “Derived From” line on the derivative
                              SECRET
                                                                           document identifies the source document.
                   DEPARTMENT OF GOOD WORKS                               The “Declassify On” line is carried over from the
                                                                           source document to the derivative document.
October 13, 2015
                                                                                                             Derivative document
MEMORANDUM FOR THE DIRECTOR
                                                                                                SECRET
FROM: [name of sender]
                                                                  May 3, 2016
SUBJECT: (U) Briefing Memos
                                                                  MEMORANDUM FOR THE STAFF
(S) General Guidance: Briefing memos should be as concise and
                                                                  FROM: [name of sender]
focused as possible. Memos should be no more than two pages
long. If more information is required, it should be included in
                                                                  SUBJECT: (U) Briefing Memos
attachments to the two-page memo. The memo should clearly
present issue(s) to be decided, summarize the key arguments,
                                                                  (S) General Guidance: Briefing memos should be as concise and
identify any differences of opinion among advisors or note that
                                                                  focused as possible. Memos should be no more than two pages
there is a consensus recommendation, and set forth the author’s
                                                                  long. If more information is required, it should be included in
recommendation. Briefing memos should not include imbedded
                                                                  attachments to the two-page memo. The memo should clearly
requests for decision or feedback.
                                                                  present issue(s) to be decided, summarize the key arguments,
                                                                  identify any differences of opinion among advisors or note that
(U) DISCUSSION
                                                                  there is a consensus recommendation, and set forth the author’s
                                                                  recommendation. Briefing memos should not include imbedded
(S) Describe the issue, topic, or event being briefed and include
                                                                  requests for decision or feedback.
relevant policy implications, if any. Briefing memos should clearly
state any differences of opinion about an issue, but should not
                                                                    (U) Statement of Purpose: Although there is no “purpose”
raise issues for decision.
                                                                    heading, the opening paragraph of a briefing memo should clearly
                                                                    and succinctly state the purpose of the memo and provide
(U) ATTACHMENTS
                                                                    background information to frame the issue or topic being briefed.
Tab A (U) Brief description of first attachment
Tab B (U) Brief description of second attachment
                                                                    (U) ATTACHMENTS                         Creator of the document
                                                                    Tab A (U) Brief description of first attachment
Classified By: Charles Smith, Program Analyst
                                                                    Tab B (U) Brief description of second attachment
Derived From: DGW Memo, dtd June 5, 2015, same subject
Declassify On: 20251013
                                                                    Classified By: Stan Jones, Program Analyst
                                                                    Derived From: DGW Memo, dtd October 13, 2015, same subject
                                SECRET
                                                                    Declassify On: 20251013

                                                                                                SECRET


                                                               -14-                                             041
        Section     2: Derivative
          Case: 21-50048,                    Classlflcatlon
                          04/28/2023, ID: 12705486,                   Marking
                                                    DktEntry: 71-3, Page 45 of 51


  Examples

                    SECRET                     Source Document
   Information Security Oversight Office (ISOO)                      SECRET
                                                             (U) Example of Markings
(U) Examples of PowerPoint Slide Markings
                                                   • (S) This bullet contains “Secret” Information.
                 May 27, 2017                      Therefore, this portion will be marked with the
                                                   designation “S” in parentheses preceding the
Classified By: #52497                              portion.
Derived From: SCG Title and date                   • (U) This bullet contains “Unclassified”
Declassify On: 20420527                            information. Therefore, this portion will be
                                                   marked with the designation “U” in parentheses
                    SECRET                         preceding the portion.

                                                                        SECRET
Derivative Document
                 SECRET
October 1, 2017

MEMORANDUM FOR ALL STAFF

FROM: [name]

SUBJ: PowerPoint Slide Markings

(U) This is an example of taking information
from the source document and placing it in a
derivative document.

(S) This paragraph contains “Secret”
Information taken from the slide presentation.
Therefore, this portion will be marked with the
designation “S” in parentheses preceding the
portion.

Classified By: John Brown, Senior Analyst
Derived From: ISOO Presentation, dated May                         Information taken from the
   27, 2017, Subj: Examples of PowerPoint                          cover slide of the presentation
   Slide Markings
Declassify On: 20420527

                    SECRET
                                                  -15-                                      042
          Section     2: Derivative
            Case: 21-50048,                    Classlflcatlon
                            04/28/2023, ID: 12705486,                   Marking
                                                      DktEntry: 71-3, Page 46 of 51


  Declassification instruction missing from source document

If the source document is missing the declassification instruction, then a calculated date of 25 years from
the date of the source document shall be annotated as the declassification date on the newly created
document.

If there is no date on the source document, then the “Declassify On” date for the newly created derivative
document shall be 25 years from the date the new document is created.


                                      Source Document

                         SECRET
                Department of Good Works
                Washington, D.C. 20006                                    NOTE: You should always check the
                                                                     appropriate classification guide to ensure the
    June 27, 2010
                                                                     correct classification level and duration of the
    MEMORANDUM FOR THE DIRECTOR                                                        information.

    From: John E. Doe, Chief Division 5

    Subject: (U) Examples

    1. (U) Paragraph 1 contains “Unclassified” information.
    Therefore, this portion will be marked with the
    designation “U” in parentheses.

    2. (S) Paragraph 2 contains “Secret” information.
    Therefore, this portion will be marked with the
    designation “S” in parentheses.

    3. (C) Paragraph 3 contains “Confidential” information.
    Therefore, this portion will be marked with the
    designation “C” in parentheses.
    Classified By: John E. Doe, Chief Division 5
    Derived From: DGW SCG, item 4, dated August 4, 2008
                                                                                              Derivative Document
                        SECRET                            Classified By: Joe Carver, Director
                                                          Derived From: Department of Good Works
                                                            Memorandum dated June 27, 2010, Subj: (U) Examples
                                                          Declassify on: 20350627
Source document missing “Declassify On:”


                                                                               SECRET

                                                              -16-                                      043
Case: 21-50048, 04/28/2023, ID: 12705486, DktEntry: 71-3, Page 47 of 51




             Section 6:
           Quick Reference




                                -45-                                 044
                        Section 6: Quick Reference
            Case: 21-50048, 04/28/2023, ID: 12705486, DktEntry: 71-3, Page 48 of 51




                 Summary of Classification Authority Block




Originally Classified Document                          Derivatively Classified Document


                       l
             Classified By:
                                                                           l
                                                                Classified By:
             Reason:                                            Derived From:
             Declassify On:                                     Declassify On:


Classified By: the name and position, or personal identifier of the individual who created the document.
Do not use group name, office name, or team name.

Reason: reason [from E.O. 13526, Section 1.4] information is classified. Annotated only on originally
classified documents.

Derived From: information identifying the source document. Annotated only on derivatively classified
documents.

Declassify On: the date the document is to be declassified.




                                                 -46-                                     045
                         Section &: Quick Reference
              Case: 21-50048, 04/28/2023, ID: 12705486, DktEntry: 71-3, Page 49 of 51




             Reasons for Classification E.O. 13526, Section 1.4

(a) military plans, weapons systems, or operations
(b) foreign government information
(c) intelligence activities (including covert action), intelligence sources or methods, or cryptology
(d) foreign relations or foreign activities of the United States, including confidential sources
(e) scientific, technological, or economic matters relating to the national security
(f) United States Government programs for safeguarding nuclear materials or facilities
(g) vulnerabilities or capabilities of systems, installations, infrastructures, projects, plans, or
protection services relating to the national security
(h) the development, production, or use of weapons of mass destruction




                                                -47-                                  046
                         Section 6: Quick Reference
             Case: 21-50048, 04/28/2023, ID: 12705486, DktEntry: 71-3, Page 50 of 51




 25X Exemptions from Automatic Declassification E.O. 13526, Section 3.3(b)
Specific information, the release of which should clearly and demonstrably be expected to:
(1) reveal the identify of a confidential human source, a human intelligence source, a relationship
with an intelligence or security service of a foreign government or international organization, or a
non-human intelligence source; or impair the effectiveness of an intelligence method currently in
use, available for use, or under development
(2) reveal information that would assist in the development, production, or use of weapons of mass
destruction
(3) reveal information that would impair U.S. cryptologic systems or activities
(4) reveal information that would impair the application of state-of-the-art technology within a
U.S. weapon system
(5) reveal formally named or numbered U.S. military war plans that remain in effect, or reveal
operational or tactical elements of prior plans that are contained in such active plans
(6) reveal information, including foreign government information, that would cause serious harm to
relations between the United States and a foreign government, or to ongoing diplomatic activities
of the United States
(7) reveal information that would impair the current ability of United States Government officials
to protect the President, Vice President, and other protectees for whom protection services, in
the interest of the national security, are authorized
(8) reveal information that would seriously impair current national security emergency
preparedness plans or reveal current vulnerabilities of systems, installations, or infrastructures
relating to the national security
(9) violate a statute, treaty, or international agreement that does not permit the automatic or
unilateral declassification of information at 25 years.


 50X Exemptions from Automatic Declassification E.O. 13526, Section 3.3(h)

(1) the identity of a confidential human source or a human intelligence source (50X1-HUM)
(2) key design concepts of weapons of mass destruction (50X2-WMD)
(3) in extraordinary cases, additional specific information formally approved by the ISCAP (50X__)



75X Exemptions from Automatic Declassification E.O. 13526, Section 3.3(h)(3)

Specific information that has been formally approved by the ISCAP.




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       Case: 21-50048, 04/28/2023, ID: 12705486, DktEntry: 71-3, Page 51 of 51


                  The Information Security Oversight Office
                        The National Archives Building
                        700 Pennsylvania Avenue, NW
                           Washington, DC 20408

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E-mail: isootraining@nara.gov
Web Page: www.archives.gov/isoo/training




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                          NATIONAL
                          ARCHIVES

                                                                            048
